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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DINA ALEXANDROVNA EARL,

       Plaintiff,                                  Case No.: 1:23-cv-15923

v.                                                 Judge Jeremy C. Daniel

THE PARTNERSHIPS AND                               Magistrate Judge Jeannice W. Appenteng
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
                37                                      Fawlutar
                40                                    urhomebasic
                44                                      IMJINAI
                86                                    LEARTDIY
                 2                                     BEHOMY
                18                                   Smoosky Store
                47                                     Sctmko art
                41                    tangyinxianfengwujunshangmaoyouxiangongsi
                51                                   Country Canvas
                49                                  High Quality Sign
                70                       anqingshenqiangshangmaoyouxiangongsi
                87                                       Jvyaeen
                54                                    linqingxiYSH
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DATED: January 16, 2024              Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:23-cv-15923 Document #: 32 Filed: 01/16/24 Page 3 of 3 PageID #:793


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 16, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
